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                Exhibit 3
Donald Trump’s News Session Starts War With and Within Media - The New York Times
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                   Donald Trump’s News Session Starts
                   War With and Within Media




                President-elect Donald J. Trump had sharp words for a CNN reporter: “Your organization’s
                terrible. ... You are fake news.” Jan. 11, 2017 • Sam Hodgson for The New York Times



                   By Michael M. Grynbaum

                   Jan. 11, 2017


                   He deemed BuzzFeed News “a failing pile of garbage,” mocked an inquiry about
                   his tax returns — “Gee, I’ve never heard that one before” — and, in an unheard-
                   of moment for a presidential news conference, shouted down questions from a


https://www.nytimes.com/2017/01/11/business/media/donald-trump-buzzfeed-cnn.html[11/10/2018 1:42:07 PM]
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                   CNN reporter, declaring, with some menace, “Not you.”

                   “Your organization is terrible,” said President-elect Donald J. Trump, his voice
                   rising as Jim Acosta of CNN tried to interject. “No, I’m not going to give you a
                   question. I’m not going to give you a question.”

                   “You,” the president-elect said, as Mr. Acosta and other stunned journalists
                   looked on, “are fake news.”

                   Any hope that Mr. Trump would temper his attacks on the news media after the
                   campaign seemed to dissipate in the marble atrium of Trump Tower on
                   Wednesday, as the president-elect, holding his first news conference since July,
                   turned a controversy over his ties to Russia into a deft and unrelenting attack
                   on the journalists who reported it.

                   It was a spectacle that attracted nearly 300 reporters to Midtown Manhattan —
                   the news conference was carried live in Australia, England and Germany — and
                   it came against an extraordinary backdrop: reports that intelligence officials
                   had briefed Mr. Trump on a document alleging collusion between the Russian
                   government and his campaign.

                   CNN broke the news on Tuesday but declined to publish specific allegations,
                   saying its reporters could not verify them. BuzzFeed News published the
                   unverified claims in full, a move that prompted an ethical debate in journalistic
                   circles — and offered Mr. Trump an opening.

                   “The fact that BuzzFeed and CNN made the decision to run with this
                   unsubstantiated claim is a sad and pathetic attempt to get clicks,” the incoming
                   White House press secretary, Sean Spicer, said, inaccurately lumping the two
                   news organizations together.

                   But the result was classic Trump: Not only did he break the norms of
                   presidential engagement with the news media, snubbing organizations because
                   of an unflattering story, but he also had elements of a frustrated political press
                   corps warring with one another.

                   Immediately after the news conference, CNN defended its reporting and drew a


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                   sharp distinction between its news story and “BuzzFeed’s decision to publish
                   unsubstantiated memos.” On a broadcast, the CNN anchor Jake Tapper said
                   that BuzzFeed’s move “hurts us all.”

                   “It’s irresponsible to put uncorroborated information on the internet,’’ Mr.
                   Tapper said. “I can understand why President-elect Trump would be upset
                   about that; I would be upset about it. too.’’

                   Later, Chuck Todd, the NBC News moderator, repeatedly pressed BuzzFeed’s
                   editor in chief, Ben Smith, on why unverified claims did not amount to “fake
                   news.”




                President-elect Donald J. Trump on Wednesday in New York held a news conference for the first
                time in six months. Jan. 11, 2017 • Damon Winter/The New York Times



                   Mr. Smith, for his part, said he was “not going to participate in an attempt to
                   divide the media against each other.” (In a memo on Wednesday, BuzzFeed’s
                   chief executive, Jonah H. Peretti, defended the move. “We are going to keep
                   doing what we do best, which is deliver impactful journalism,” he wrote.)

                   Still, by the time the news conference finished — with Omarosa Manigault, the
                   “Apprentice” star and future member of the White House staff, heckling Mr.


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                   Acosta, shouting, “Cut it out!” — Mr. Trump had bobbed and weaved his way
                   through nearly an hour of interrogation, offering vague answers to critical
                   questions about his administration.

                   Yet the conduct of the news media, a familiar foil from Mr. Trump’s campaign
                   days, remained at the center of the day’s story.

                   The treatment of Mr. Acosta raised alarms among news media advocates and
                   his fellow journalists, particularly after Mr. Acosta described a threat by Mr.
                   Spicer to eject him from the news conference when he persisted in trying to ask
                   the president-elect a question.

                   Harsh words between reporters and press secretaries happen. But an anchor for
                   a rival network, Shepard Smith of Fox News, later came to Mr. Acosta’s defense,
                   saying that no “journalists should be subjected to belittling and delegitimizing
                   by the president-elect of the United States.”

                   The National Press Club also lamented Mr. Trump’s behavior, saying in a
                   statement: “Presidents shouldn’t get to pick and choose which reporters’
                   questions they will answer based on what news outlet for which they work.”

                   Mr. Trump, who ultimately took one question from a CNN reporter, also called
                   on journalists from two right-leaning organizations: BreitbartNews and One
                   America News. Matthew Boyle, the Breitbart reporter, asked the president-elect
                   for his ideas on how to reform the news media.

                   Mostly, however, Mr. Trump took questions from journalists at the major
                   television networks, with John Roberts of Fox News going first. A Greek chorus
                   of sorts — mostly Trump supporters and aides, including Ms. Manigault —
                   watched from the side, applauding Mr. Trump and jeering questions from
                   reporters they deemed unpleasant.

                   A man who prides himself on finding an opponent’s weakness, Mr. Trump at
                   one point zeroed in on an existential question that has lingered in many
                   newsrooms since his surprise victory: How much does the traditional news
                   media still matter in a polarized age?



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                   When Hallie Jackson, an NBC News correspondent, asked the president-elect if
                   he would finally release his tax returns, to verify his claim that he has no
                   financial dealings in Russia, Mr. Trump scoffed.

                   “You know, the only one that cares about my tax returns are the reporters,
                   O.K.?” the president-elect said. “They’re the only ones who ask.”

                   “You don’t think the American public is concerned about it?” Ms. Jackson
                   asked.

                   “I don’t think so,” Mr. Trump replied, before laying down the political
                   equivalent of a mike-drop: ”I won.”


                   Sydney Ember contributed reporting

                   A version of this article appears in print on , on Page A19 of the New York edition with the headline: Trump
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